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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES—GENERAL

   Case No.        CV 85-4544-DMG (AGRx)                                            Date       July 9, 2018

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   Present: The Honorable           DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                    KANE TIEN                                                      NOT REPORTED
                    Deputy Clerk                                                    Court Reporter

      Attorneys Present for Plaintiff(s)                                  Attorneys Present for Defendant(s)
               None Present                                                         None Present

   Proceedings: IN CHAMBERS - ORDER DENYING DEFENDANTS’ “EX PARTE
                APPLICATION FOR LIMITED RELIEF FROM SETTLEMENT
                AGREEMENT” [435]

           On June 20, 2018, President Donald J. Trump issued an Executive Order requiring “[t]he
   Attorney General [to] promptly file a request with [this Court] to modify the [Flores
   Agreement], in a manner that would permit the Secretary [of Homeland Security], under present
   resource constraints, to detain alien families together throughout the pendency of criminal
   proceedings for improper entry or any removal or other immigration proceedings.” See
   Affording Congress an Opportunity to Address Family Separation, Exec. Order No. 13841, 83
   Fed. Reg. 29435, 29435 (June 20, 2018) [hereinafter Exec. Order No. 13841]. On June 21, 2018,
   Defendants filed an Ex Parte Application seeking the following “limited” relief: (1) an
   exemption from the Flores Agreement’s release provisions so that Immigration and Customs
   Enforcement (“ICE”) may detain alien minors who have arrived with their parent or legal
   guardian together in ICE family residential facilities, and (2) an exemption from the Flores
   Agreement’s state licensure requirement. [Doc. # 435.] Defendants claim that such relief is
   warranted under Federal Rules of Civil Procedure 60(b)(5) and 60(b)(6). See Ex Parte Appl.
   at 10 [Doc. # 435-1].1

          Although Defendants did not notice their Ex Parte Application for a hearing, they seek “a
   prompt hearing on [their] request for immediate relief, together with any additional proceedings
   the Court believes appropriate.” See id. at 21. Plaintiffs filed an opposition to the Ex Parte
   Application [Doc. # 450], as did the American Civil Liberties Union (“ACLU”) [Doc. # 451] and
   the City of Los Angeles, the City of Chicago, the City of New York, and the City & County of
   San Francisco (“The Cities”) [Doc. # 453] as amici curiae.

         Defendants’ Ex Parte Application is a thinly veiled motion for reconsideration without
   any meaningful effort to comply with the requirements of Local Rule 7-18. On July 24, 2015,
           1
               All page references herein are to page numbers inserted by the CM/ECF system.


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   the Court denied Defendants’ motion seeking to modify the Flores Agreement on the same
   grounds now raised anew in Defendants’ Ex Parte Application. See Defs.’ Motion to Amend
   at 13, 17–21, 27–28, 30–33 [Doc. # 120]; July 24, 2015 Order at 19–25 [Doc. # 177]; Ex Parte
   Appl. at 15–16 [Doc. # 435-1] (repeating Defendants’ position that detaining family units in
   unlicensed family residential facilities deters others from unlawfully entering the country). In
   short, Defendants have run afoul of Local Rule 7-18 because the Ex Parte Application
   “repeat[s] . . . oral or written argument made in support of” the earlier Motion to Amend. C.D.
   Cal. L.R. 7-18.

           Even if Local Rule 7-18 did not bar Defendants’ Ex Parte Application, it would still fail
   under a Rule 60(b) analysis. The Court’s July 24, 2015 Order analyzed in great detail the
   relevant Flores Agreement language and applicable legal authorities, responding to the same
   issues raised in Defendants’ current Ex Parte Application. In the absence of a showing of
   changed circumstances that the parties could not have foreseen at the time of their Agreement, it
   is unnecessary to replow the same familiar territory. See Rufo v. Inmates of Suffolk Cty. Jail, 502
   U.S. 367, 383 (1992) (“Ordinarily, . . . modification should not be granted where a party relies
   upon events that actually were anticipated at the time it entered into a decree. . . . [A] party
   seeking modification of a consent decree [under Rule 60(b)(5)] bears the burden of establishing
   that a significant change in circumstances warrants revision of the decree.”); United States v.
   Alpine Land & Reservoir Co., 984 F.2d 1047, 1049 (9th Cir. 1993) (“[Rule 60(b)(6)] is to be
   utilized only where extraordinary circumstances prevented a party from taking timely action to
   prevent or correct an erroneous judgment.”).

            At bottom, Defendants’ arguments rest in part on the premise that the July 24, 2015
   Order resulted in a “3 to 5-fold increase in the number of illegal family border crossings”
   because it led arriving families to believe that Defendants would rather release them than
   separate the children from their families. See, e.g., Ex Parte Appl. at 3 [Doc. # 435-1].
   Assuming arguendo that Defendants’ representations regarding the increase in border crossings
   are correct (i.e., 68,445 apprehensions in 2014; 39,838 in 2015; 77,674 in 2016; and 75,622 in
   2017), they do not establish that the Court’s July 24, 2015 Order in any way caused this “surge.”
   See id. at 3, 9. Defendants’ reasoning suffers from the “‘logical fallacy of post hoc, ergo propter
   hoc’ . . . literally, ‘after this, therefore because of this[.]’” See Kozulin v. INS, 218 F.3d 1112,
   1117 (9th Cir. 2000) (quoting Huskey v. City of San Jose, 204 F.3d 893, 899 (9th Cir. 2000)).
   Any number of other factors could have caused the increase in illegal border crossings, including
   civil strife, economic degradation, and fear of death in the migrants’ home countries. See, e.g.,
   Govindaiah Decl. at ¶¶ 1–3 (between July 1, 2017 and June 16, 2018, RAICES provided legal
   assistance to 5,177 family units detained at Karnes County Residential Center; approximately
   5,000 of those family units received positive credible fear determinations from an asylum officer

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   or an immigration judge) [Doc. # 451-1]; Adam Cox & Ryan Goodman, Detention of Migrant
   Families as “Deterrence”:           Ethical Flaws & Empirical Doubts, justsecurity.org
   (June 22, 2018), https://www.justsecurity.org/58354/detention-migrant-families-deterrence-
   ethical-flaws-empirical-doubts/ (concluding that “there’s not even a correlational relationship
   between [the July 24, 2015 Order] and family migration,” and pointing out that the apprehension
   patterns for accompanied and unaccompanied minors after the decision did not differ from one
   another). As it did before, the Court finds Defendants’ logic “dubious” and unconvincing.2 See
   July 24, 2015 Order at 11 [Doc. # 177].

          Moreover, the Flores Agreement has required accompanied minors to be placed in
   licensed facilities since 1997. See Flores Agreement at ¶ 19 [Doc. # 101]. Defendants did not
   request an alteration of their legal obligations until many years later in 2015 and again now. The
   Court’s July 24, 2015 Order merely reaffirmed Defendants’ pre-existing obligations under the
   Agreement, and could not have caused the surge in border crossings any more than the
   implementation of the Flores Agreement itself caused the numerous surges that occurred after
   1997. See Ex Parte Appl. at 3 [Doc. # 435-1].

          Additionally, the relief Defendants seek is improper because their proposed modifications
   are not “suitably tailored to the changed circumstance[,]” if any. Rufo, 502 U.S. at 391
   (emphasis added). Instead, Defendants seek to light a match to the Flores Agreement and ask
   this Court to upend the parties’ agreement by judicial fiat.

          The Flores Agreement allows Defendants up to five days to place minors in licensed
   programs if they are apprehended in districts that do not have those programs, or “as
   expeditiously as possible” if there is an “influx of minors into the United States[.]” See Flores
   Agreement at ¶ 12.A. In 2015, the Court found that the Flores Agreement could accommodate
   Defendants’ request for a 20-day deadline during an influx.3 Yet, Defendants now seek to hold

           2
              Because Defendants fail to show that the Flores Agreement and the July 24, 2015 Order are responsible
   for the so-called “surge” in illegal family border crossings, the Court need not address Plaintiffs’ and the ACLU’s
   argument that general deterrence is not a permissible purpose of civil detention. See Pls.’ Opp’n at 11 [Doc. # 450];
   ACLU’s Opp’n at 8–11 [Doc. # 451]; see also July 24, 2015 Order at 24 n.11 (declining to address this issue
   because Defendants failed to show that detaining families would deter future illegal border crossings) [Doc. # 177].
            3
              Paragraph 12.A provides in pertinent part that “[t]he INS will transfer a minor . . . to a [licensed
   program] . . . within five (5) days [if the minor is apprehended in a district that does not have a licensed program
   with space available], except . . . in the event of an emergency or influx of minors into the United States, in which
   case the INS shall place all minors [into licensed placements] as expeditiously as possible[.]” The Court previously
   observed that, during an influx, a 20-day delay in placement may comply with Paragraph 12.A if that is “as fast as
   Defendants, in good faith and in the exercise of due diligence, can possibly go in screening family members for

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   minors in indefinite detention in unlicensed facilities, which would constitute a fundamental and
   material breach of the parties’ Agreement. Cf. Flores v. Lynch, 828 F.3d 898, 910 (9th Cir.
   2016) (holding that exempting accompanied minors from the Flores Agreement was not a
   suitably tailored response to the influx in family units crossing the border).

           Defendants also assert that “families frequently fail to appear at the required
   proceedings” if they are released from custody. See Ex Parte Appl. at 2–3 (citing Homan Decl.
   at ¶ 30 (attesting that from July 2014 to July 2015, there were 41,297 cases involving family
   apprehensions and 11,976 removal orders issued in absentia) [Doc. # 184-1]) [Doc. # 435-1].
   But see Ingrid Eagly, et al., Detaining Families: A Study of Asylum Adjudication in Family
   Detention,      106     Calif.    L.     Rev.      785,   847–48      (2018),      available     at
   http://www.californialawreview.org/wp-content/uploads/2018/06/4-Eagly_Shafer_Whalley.pdf
   (Executive Office of Immigration Review data shows that between 2001 and 2016, 86% of
   family detainees attended all of their court hearings). The evidentiary record is unclear as to the
   accuracy of Defendants’ assertion. Even assuming Defendants are correct, however, this risk
   was plainly contemplated by the parties when they executed the Flores Agreement in 1997. See,
   e.g., Flores Agreement at ¶ 24.A (providing that a minor in deportation proceedings shall be
   afforded a bond redetermination hearing). It does not support a blanket non-release policy or
   warrant the Agreement’s modification or abrogation.

           After submitting their Ex Parte Application, Defendants filed a “Notice of
   Compliance[,]” wherein they contend that a preliminary injunction recently entered in Ms. L v.
   U.S. Immigration & Customs Enforcement, No. CV 18-0428 DMS (MDD), 2018 WL 3129486
   (S.D. Cal. June 26. 2018), allows them to nullify the release and state licensure provisions of the
   Flores Agreement. See Notice of Compl. at 5–8 [Doc. # 447]. Ms. L concluded that a class of
   certain parents would likely succeed on the merits of their due process challenge to the “practice
   of separating [certain parents] from their minor children, and failing to reunify [parents] with
   those children, without any showing the parent is unfit or presents a danger to the child[.]” See
   Ms. L, 2018 WL 3129486, at *7. The District Court ordered ICE and other governmental
   officers and agencies to reunite these parents with their children (the former of whom were in
   Department of Homeland Security (“DHS”) custody) within 14 to 30 days of that Order, unless
   (inter alia) “the parent affirmatively, knowingly, and voluntarily declines to be reunited with the
   child in DHS custody.” See id. at *11–12.



   reasonable or credible fear[.]” See Order re Resp. to Order to Show Cause at 10 [Doc. # 189]. The 20-day deadline
   arose from Defendants’ own request for that additional time to comply with their contractual obligations during an
   influx. See Def.’s Resp. to Order to Show Cause at 14, 23–24, 34 n.33 [Doc. # 184].

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            Defendants advance a tortured interpretation of the Flores Agreement in an attempt to
   show that the Ms. L preliminary injunction permits them to suspend the Flores release and
   licensure provisions. They claim that detaining Flores Class Members with their parents
   complies with Paragraph 14’s command that Class Members be “release[d] from . . . custody
   without unnecessary delay” because separating a Class Member from a parent would violate the
   Ms. L Order. See Notice of Compl. at 6 (emphasis in original) (quoting Flores Agreement at
   ¶ 14 [Doc. # 101]) [Doc. # 447]. Similarly, Defendants contend that indefinite detention in ICE
   unlicensed family residential facilities is consistent with: (1) their obligation to transfer minors
   to licensed placements “as expeditiously as possible” if there is an influx of minors, and
   (2) Paragraph 12.A’s proviso that such transfer is unnecessary when “any court decree or court-
   approved settlement” provides otherwise. See id. at 7 n.1 (quoting Flores Agreement at
   ¶ 12.A.2–3 [Doc. # 101]). The Court rejects this strained construction of the Flores Agreement
   because it renders meaningless paragraph 12.A (deadlines for transfers to licensed placements),
   paragraph 14 (persons to whom Class Members may be released), paragraph 18 (efforts toward
   release and reunification), and paragraph 19 (placement of Class Members in licensed
   programs).4 See Pinel v. Aurora Loan Servs., LLC, 814 F. Supp. 2d 930, 943 (N.D. Cal. 2011)
   (“Courts must interpret contractual language in a manner [that] gives force and effect to every
   provision, and not in a way [that] renders some clauses nugatory, inoperative or meaningless.”
   (alteration in original) (quoting City of Atascadero v. Merrill Lynch, Pierce, Fenner & Smith,
   Inc., 68 Cal. App. 4th 445, 473 (1998))); O’Neil v. Bunge Corp., 365 F.3d 820, 822 (9th Cir.
   2004) (“[T]he construction and enforcement of settlement agreements are governed by principles
   of local law which apply to interpretation of contracts generally.” (internal quotation marks
   omitted) (quoting United Commercial Ins. Serv., Inc. v. Paymaster Corp., 962 F.2d 853, 856 (9th
   Cir. 1992))).

           To the extent Defendants claim that the Ms. L Order supports their request for
   modification, their argument fares no better because they have not shown that Ms. L required
   Defendants to violate the Flores Agreement or that compliance with the Ms. L Order would
   “directly conflict” with the Flores Agreement’s release and state licensure provisions. See
   Flores v. Sessions, 862 F.3d 863, 874 (9th Cir. 2017) (noting that this is the standard for
   modifying a decree on change of law grounds). Absolutely nothing prevents Defendants from
   reconsidering their current blanket policy of family detention and reinstating prosecutorial
   discretion. See Exec. Order No. 13841, 83 Fed. Reg. at 29435; see also 8 U.S.C.
   § 1226(a)(2)(A) (providing that the Attorney General has the discretion to release certain aliens

           4
             There is yet another flaw in Defendants’ reasoning—i.e., they seek to indefinitely detain all migrant
   children who have arrived with their parents or legal guardians, see Ex Parte Appl. at 21 [Doc. # 435-1], even
   though the Ms. L preliminary injunction by its terms excludes a number of family units from its scope, including
   those who are subject to Executive Order 13841, see Ms. L, 2018 WL 3129486, at *3 n.5.

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   on a bond of at least $1,500); 8 U.S.C. § 1182(d)(5)(A) (providing that the Attorney General has
   the discretion to parole certain aliens).

           Further, detained parents who are entitled to reunification under the Ms. L Order may
   “affirmatively, knowingly, and voluntarily decline[] to be reunited” with their children, see
   Ms. L., 2018 WL 3129486, at *11, and all parties admit that these parents may also affirmatively
   waive their children’s rights to prompt release and placement in state-licensed facilities, see
   Notice of Compl. at 9 (“[P]laintiffs in this case have always agreed that detention of the family
   together is permissible if the parent consents.” (emphasis added)) [Doc. # 447]; Pls.’ Opp’n to Ex
   Parte Appl. at 7 (asserting that Class Members’ have the right—“subject to opt out by a
   parent—to be released or placed under the terms of the Agreement” (emphasis added)) [Doc.
   # 450]; see also Fields v. Palmdale Sch. Dist., 427 F.3d 1197, 1204 (9th Cir. 2005) (“[T]he right
   of parents to make decisions concerning the care, custody, and control of their children is a
   fundamental liberty interest protected by the Due Process Clause.”); Wyler Summit P’ship v.
   Turner Broad. Sys., 135 F.3d 658, 662 (9th Cir. 1998) (“It is a well settled maxim that a party
   may waive the benefit of any condition or provision made in his behalf, no matter to what
   manner it may have been made or secured.” (emphasis omitted) (quoting Knarston v. Manhattan
   Life Ins. Co., 140 Cal. 57, 63 (1903))); Jeffrey Kavin, Inc. v. Frye, 264 Cal. App. 4th 35, 45
   (2012) (“It is well settled a contracting party may waive conditions placed in a contract solely for
   that party’s benefit.” (quoting Sabo v. Fasano, 154 Cal. App. 3d 502, 505 (1984)) (internal
   quotation marks omitted)). Given the situation arising from Defendants’ earlier family
   separation policy, detained parents may choose to exercise their Ms. L right to reunification or to
   stand on their children’s Flores Agreement rights. Defendants may not make this choice for
   them.5

           Lastly, Defendants have known for years that there is “no state licensing readily available
   for facilities that house both adults and children.” See Defs.’ Motion to Amend at 32 (filed on
   Feb. 27, 2015) [Doc. # 120]. Yet, Defendants have not shown that they made any efforts to
   resolve this issue since July 2015, let alone 1997, nor have they demonstrated that any such
   attempt would be futile. To the contrary, certain local governments charged with enforcing state
   child welfare laws have indicated their “strong interest . . . in the continued licensed regulation of
   Defendants’ child welfare programs.” See The Cities’ Opp’n at 13 [Doc. # 453]. Given that the
   Flores Agreement has “unambiguously applie[d] both to accompanied and unaccompanied
   minors” for over 20 years, see Flores, 828 F.3d at 901, Defendants cannot now complain that the

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               The Court also observes that there is no inconsistency between the Flores Agreement and Executive
   Order No. 13841. See Exec. Order No. 13841, 83 Fed. Reg. at 29435 (“The Secretary of Homeland Security . . .
   shall, to the extent permitted by law . . . maintain custody of alien families during the pendency of any criminal
   improper entry or immigration proceedings involving their members.” (emphasis added)).

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   Agreement leaves them no choice but to separate parents from their children and violate the
   Ms. L Order.

           It is apparent that Defendants’ Application is a cynical attempt, on an ex parte basis, to
   shift responsibility to the Judiciary for over 20 years of Congressional inaction and ill-considered
   Executive action that have led to the current stalemate. The parties voluntarily agreed to the
   terms of the Flores Agreement more than two decades ago. The Court did not force the parties
   into the agreement nor did it draft the contractual language. Its role is merely to interpret and
   enforce the clear and unambiguous language to which the parties agreed, applying well-
   established principles of law. Regardless, what is certain is that the children who are the
   beneficiaries of the Flores Agreement’s protections and who are now in Defendants’ custody are
   blameless. They are subject to the decisions made by adults over whom they have no control. In
   implementing the Agreement, their best interests should be paramount.

          In sum, Defendants have not shown that applying the Flores Agreement “prospectively is
   no longer equitable[,]” see Fed. R. Civ. P. 60(b)(5), or that “manifest injustice” will result if the
   Agreement is not modified, see United States v. Alpine Land & Reservoir Co., 984 F.2d 1047,
   1049 (9th Cir. 1993). Of course, the parties are always free to meet and confer regarding any
   contractual amendments on which they can mutually agree. This is basic contract law.

          In light of the foregoing, the Court DENIES the Ex Parte Application because it is
   procedurally improper and wholly without merit.

   IT IS SO ORDERED.




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